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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  UNIFIED MESSAGING SOLUTIONS
  LLC,                                               MDL No. 2371

                              Plaintiff,             Master Docket No. 1:12-CV-6286

  v.                                                 Regarding: Case No. 1:13-CV-00275

  PNC BANK, N.A., AND RBC BANK                       District Judge Joan H. Lefkow
  (USA),                                             Magistrate Judge Sheila M. Finnegan

                              Defendants.            JURY TRIAL DEMANDED


             AMENDED COMPLAINT FOR PATENT INFRINGEMENT AGAINST
                      PNC BANK, N.A. AND RBC BANK (USA)

        Plaintiff Unified Messaging Solutions LLC (“Unified Messaging”) files this Amended

Complaint against PNC Bank, N.A. and RBC Bank (USA) (collectively, “Defendants”) for

infringement of U.S. Patent No. 6,857,074 (“the ’074 patent”), U.S. Patent No. 7,836,141 (“the

’141 patent”), U.S. Patent No. 7,895,306 (“the ’306 patent”), U.S. Patent No. 7,895,313 (“the

’313 patent”), and/or U.S. Patent No. 7,934,148 (“the ’148 patent”).

                                           THE PARTIES

        1.      Unified Messaging is a limited liability company organized and existing under the

laws of the State of Texas, with principal places of business located in Newport Beach,

California and Frisco, Texas.

        2.      Defendant PNC Bank, N.A. (“PNC”) is a Pennsylvania Corporation with its

principal place of business in Pittsburgh, Pennsylvania. PNC does business in the State of

Illinois and in the Northern District of Illinois.
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        3.     Defendant RBC Bank (USA) (“RBC”) was acquired by PNC in March of 2012.

RBC was formerly the United States-based retail banking division of the Royal Bank of Canada.

RBC was formerly a North Carolina corporation with a principal place of business at 301

Fayetteville Street, Suite 1400, Raleigh, North Carolina 27601.

                                 JURISDICTION AND VENUE

        4.     Unified Messaging brings this action for patent infringement under the patent

laws of the United States, namely 35 U.S.C. §§ 271, 281, and 284-285, among others.

        5.     The United States District Court for the Northern District of Illinois has subject

matter jurisdiction over the claims in this action pursuant to 28 U.S.C. §§ 1331, 1338(a), and

1367. It also has subject matter jurisdiction for pretrial proceedings pursuant to 28 U.S.C. §

1407.

        6.     Venue is proper in the United States District Court for the Northern District of

Illinois pursuant to 28 U.S.C. §§ 1391(c) and 1400(b).            On information and belief, each

Defendant is deemed to reside in the Northern District of Illinois, has committed acts of

infringement in the Northern District of Illinois, has purposely transacted business in the

Northern District of Illinois, and/or has regular and established places of business in the Northern

District of Illinois. Venue is also proper in the United States District Court for the Northern

District of Illinois for pretrial proceedings pursuant to 28 U.S.C. § 1407.

        7.     Each Defendant is subject to the United States District Court for the Northern

District of Illinois’s specific and general personal jurisdiction pursuant to due process and/or the

Illionis Long Arm Statute, due at least to their substantial business in this State and judicial

district, including: (A) at least part of their infringing activities alleged herein; and (B) regularly

doing or soliciting business and, accordingly, deriving substantial revenue from goods and



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services provided to Illinois residents. With regards to pretrial proceedings, each Defendant is

also subject to the United States District Court for the Northern District of Illinois’s specific and

general personal jurisdiction pursuant to 28 U.S.C. § 1407.

                                            COUNT I

                      (INFRINGEMENT OF U.S. PATENT NO. 6,857,074)

       8.       Unified Messaging incorporates paragraphs 1 through 7 herein by reference.

       9.       Unified Messaging is the exclusive licensee of the ’074 patent, entitled “Systems

and Methods for Storing, Delivering, and Managing Messages,” with ownership of all substantial

rights in the ’074 patent, including the right exclude others and to enforce, sue and recover

damages for past and future infringement. A true and correct copy of the ’074 patent is attached

as Exhibit A.

       10.      The ’074 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       11.      Defendants have infringed and continue to infringe one or more claims of the

’074 patent in this judicial district and elsewhere in Illinois and the United States, including at

least claims 1, and 4, without the consent or authorization of Unified Messaging, by or through

their making, having made, offer for sale, sale, and/or use of the patented systems and methods

for storing, delivering, and managing messages through operation of various web-based

messaging service(s) via their website(s) and/or attendant web server(s).

       12.      Unified Messaging has been damaged as a result of Defendants’ infringing

conduct described in this Count I. Defendants are, thus, liable to Unified Messaging in an

amount that adequately compensates it for Defendants’ infringements, which, by law, cannot be




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less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                                           COUNT II

                      (INFRINGEMENT OF U.S. PATENT NO. 7,836,141)

       13.      Unified Messaging incorporates paragraphs 1 through 12 herein by reference.

       14.      Unified Messaging is the exclusive licensee of the ’141 patent, entitled “Systems

and Methods for Storing, Delivering, and Managing Messages,” with ownership of all substantial

rights in the ’141 patent, including the right exclude others and to enforce, sue and recover

damages for past and future infringement. A true and correct copy of the ’141 patent is attached

as Exhibit B.

       15.      The ’141 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       16.      Defendants have directly and/or indirectly infringed and continue to directly

and/or indirectly infringe one or more claims of the ’141 patent in this judicial district and

elsewhere in Illinois and the United States, including at least claim 21 without the consent or

authorization of Unified Messaging, by or through their making, having made, offer for sale,

sale, and/or use of the patented systems and methods for storing, delivering, and managing

messages through operation of their respective web-based communications service(s), including

webmail services, accessible via their website(s) and/or their messaging/mail/web server(s).

       17.      Unified Messaging has been damaged as a result of Defendants’ infringing

conduct described in this Count II. Defendants are, thus, liable to Unified Messaging in an

amount that adequately compensates it for Defendants’ infringements, which, by law, cannot be




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less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                                          COUNT III

                      (INFRINGEMENT OF U.S. PATENT NO. 7,895,306)

       18.      Unified Messaging incorporates paragraphs 1 through 17 herein by reference.

       19.      Unified Messaging is the exclusive licensee of the ’306 patent, entitled “Systems

and Methods for Storing, Delivering, and Managing Messages,” with ownership of all substantial

rights in the ’306 patent, including the right exclude others and to enforce, sue and recover

damages for past and future infringement. A true and correct copy of the ’306 patent is attached

as Exhibit C.

       20.      The ’306 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       21.      Defendants have directly and/or indirectly infringed and continue to directly

and/or indirectly infringe one or more claims of the ’306 patent in this judicial district and

elsewhere in Illinois and the United States, including at least claim 5 without the consent or

authorization of Unified Messaging, by or through their making, having made, offer for sale,

sale, and/or use of the patented systems and methods for storing, delivering, and managing

messages through operation of their respective web-based communications service(s), including

webmail services, accessible via their website(s) and/or their messaging/mail/web server(s).

       22.      Unified Messaging has been damaged as a result of Defendants’ infringing

conduct described in this Count III. Defendants are, thus, liable to Unified Messaging in an

amount that adequately compensates it for Defendants’ infringements, which, by law, cannot be




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less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                                           COUNT IV

                      (INFRINGEMENT OF U.S. PATENT NO. 7,895,313)

       23.      Unified Messaging incorporates paragraphs 1 through 22 herein by reference.

       24.      Unified Messaging is the exclusive licensee of the ’313 patent, entitled “Systems

and Methods for Storing, Delivering, and Managing Messages,” with ownership of all substantial

rights in the ’313 patent, including the right exclude others and to enforce, sue and recover

damages for past and future infringement. A true and correct copy of the ’313 patent is attached

as Exhibit D.

       25.      The ’313 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       26.      Defendants have directly and/or indirectly infringed and continue to directly

and/or indirectly infringe one or more claims of the ’313 patent in this judicial district and

elsewhere in Illinois and the United States, including at least claim 10, without the consent or

authorization of Unified Messaging, by or through their making, having made, offer for sale,

sale, and/or use of the patented systems and methods for storing, delivering, and managing

messages through operation of their respective web-based communications service(s), including

webmail services, accessible via their website(s) and/or their messaging/mail/web server(s)..

       27.      Unified Messaging has been damaged as a result of Defendants’ infringing

conduct described in this Count IV. Defendants are, thus, liable to Unified Messaging in an

amount that adequately compensates it for Defendants’ infringements, which, by law, cannot be




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less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                                           COUNT V

                      (INFRINGEMENT OF U.S. PATENT NO. 7,934,148)

       28.      Unified Messaging incorporates paragraphs 1 through 27 herein by reference.

       29.      Unified Messaging is the exclusive licensee of the ’148 patent, entitled “Systems

and Methods for Storing, Delivering, and Managing Messages,” with ownership of all substantial

rights in the ’148 patent, including the right exclude others and to enforce, sue and recover

damages for past and future infringement. A true and correct copy of the ’148 patent is attached

as Exhibit E.

       30.      The ’148 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       31.      Defendants have directly and/or indirectly infringed and continue to directly

and/or indirectly infringe one or more claims of the ’148 patent in this judicial district and

elsewhere in Illinois and the United States, including at least claim 1, without the consent or

authorization of Unified Messaging, by or through their making, having made, offer for sale,

sale, and/or use of the patented systems and methods for storing, delivering, and managing

messages through operation of their respective web-based communications service(s), including

webmail services, accessible via their website(s) and/or their messaging/mail/web server(s).

       32.      Unified Messaging has been damaged as a result of Defendants’ infringing

conduct described in this Count V. Defendants are, thus, liable to Unified Messaging in an

amount that adequately compensates it for Defendants’ infringements, which, by law, cannot be




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less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                             ILLUSTRATIVE INFRINGEMENTS

       33.      Unified Messaging incorporates paragraphs 1 through 32 herein by reference.

       34.      Defendants have committed direct infringement as alleged in Counts I through V,

at least through operation of its “Online Banking” feature accessible at least through their

websites, www.pnc.com and www.rbcbank.com. Specifically, these features infringe at least

claims 1, 2, 4, and 26 of the ‘074 patent. These features also infringe at least claims 21, 24, and

29 of the ‘141 patent. These features also infringe at least claims 1, 7, 39, 90, 91, 140, and 147

of the ‘148 patent. These features also infringe at least claims 5, 25, 37, and 40 of the ‘306

patent. These features also infringe at least claims 10 and 11 of the ‘313 patent.

       35.      In the alternative, Defendants have committed indirect infringement as alleged in

Counts II through V through their inducing and/or contributing to the infringement of their users

via the “Online Banking” feature. Defendants have possess knowledge of the ‘141 patent, the

‘306 patent, the ‘313 patent and the ‘148 patent since at least the service of Unified Messaging’s

original complaint on January 22, 2013. Since at least January 22, 2013, Defendants have

known or should have known that their actions would induce or contribute to actual infringement

by their users. Since at least January 22, 2013, Defendants have specifically intended for their

users to use the “Online Banking” feature in a manner that infringes at least claims 21, 24, and

29 of the ‘141 patent, claims 1, 7, 39, 90, 91, 140 and 147 of the ‘148 patent, claims 5, 25, 37,

and 40 of the ‘306 patent, and claims 10 and 11 of the ‘313 patent by instructing and/or

encouraging the users to use the “Online Banking” features.




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       36.     On information and belief, Defendants have possessed knowledge of the ‘074,

‘141, ‘306, ‘313, and ‘148 patents since at least the service of Unified Messaging’s original

complaint on January 22, 2013 and, on information and belief, Defendants have continued to

infringe the ‘074, ‘141, ‘306, ‘313, and ‘148 patents despite an objectively high likelihood that

their actions constitute infringement of the ‘074, ‘141, ‘306, ‘313, and ‘148 patents and a subject

knowledge or obviousness of such risk.

       37.     This case is exceptional pursuant to the provisions of 35 U.S.C. § 285.

                                         JURY DEMAND

       Unified Messaging hereby requests a trial by jury pursuant to Rule 38 of the Federal

Rules of Civil Procedure.

                                    PRAYER FOR RELIEF

       Unified Messaging requests that the Court find in its favor and against Defendants, and

that the Court grant Unified Messaging the following relief:

       a.      Judgment that one or more claims of the ’074, ’141, ’306, ’313, and ’148 patents
               have been infringed, either literally and/or under the doctrine of equivalents, by
               Defendants;

       b.      Judgment that Defendants account for and pay to Unified Messaging all damages
               to and costs incurred by Unified Messaging because of Defendants’ infringing
               activities and other conduct complained of herein;

       c.      Judgment that Defendants account for and pay to Unified Messaging a reasonable,
               on-going, post-judgment royalty because of Defendants’ infringing activities and
               other conduct complained of herein;

       d.      That Unified Messaging be granted pre-judgment and post-judgment interest on
               the damages caused by Defendants’ infringing activities and other conduct
               complained of herein; and

       e.      That Unified Messaging be granted such other and further relief as the Court may
               deem just and proper under the circumstances.




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Dated: April 26, 2013                       Respectfully submitted,

                                            /s/ Timothy E. Grochocinski
                                            Anthony G. Simon
                                            Michael P. Kella
                                            Stephanie H. To
                                            THE SIMON LAW FIRM, P.C.
                                            800 Market Street, Suite 1700
                                            St. Louis, MO 63101
                                            (314) 241-2929
                                            asimon@simonlawpc.com
                                            mkella@simonlawpc.com
                                            sto@simonlawpc.com

                                            Timothy E. Grochocinski
                                            Illinois State Bar No. 6295055
                                            Aaron W. Purser
                                            Illinois State Bar No. 6301930
                                            INNOVALAW, P.C.
                                            1900 Ravina Place
                                            Orland Park, IL 60462
                                            (708) 675-1974
                                            teg@innovalaw.com
                                            apurser@innovalaw.com

                                            Attorneys for Plaintiff
                                            Unified Messaging Solutions LLC




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